                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   4          State of California, et al.       ,           Case No. 3:25-cv-03372-JSC
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          Donald J. Trump. et al.           ,
                                                        Defendant(s).
                                   8

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                                  10          I, Elizabeth Goitein            , an active member in good standing of the bar of

                                  11    Massachusetts                         , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Amicus Curiae                      in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Loren Kieve                       , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         56280

                                  16
                                       1140 Connecticut Ave #1150, NW DC 20036              2121 Broadway St., Unit 3, SF, CA 94115
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (202) 249-7192                                       (415) 425-2655
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       goiteine@brennan.law.nyu.edu                         lk@kievelaw.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 644092               .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: May 20, 2025                                           Elizabeth Goitein
                                                                                                     APPLICANT
                                   5

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                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Elizabeth Goitein                       is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
                     COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS.




            BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
within and for said County of Suffolk, on                                                 December 14, 1999,

said Court being the highest Court of Record in said Commonwealth:



                                                      Elizabeth Goitein


being found duly qualified in that behalf, and having taken and subscribed

the oaths required by law, was admitted to practice as an Attorney, and, by virtue

thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

that said Attorney is at present a member of the Bar, and is in good standing
according to the records of this Court*.

            In testimony whereof, I have hereunto set my hand and affixed the

                         seal of said Court, this second                                                 day of             May
                                           in the year of our Lord two thousand and twenty-five.




                                                                                          ALLISON S. CARTWRIGHT, CLERK



* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

         Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for Suffolk County
